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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TRIUMPH DESIGNS, LTD.,

                       Plaintiff,                      Case No. 22-cv-00506
       v.
                                                       Judge Steven C. Seeger
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A,

                       Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on October 24, 2022 [49], in favor

of Plaintiff Triumph Designs, Ltd. (“Plaintiff”) against the Defendants Identified on Schedule A

in the amount of five thousand dollars ($5,000.00) per Defaulting Defendant for willful use of

counterfeit versions of Plaintiff’s Trademarks in connection with the offer for sale and/or sale of

products through at least the Seller Aliases. Plaintiff acknowledges payment of an agreed upon

damages amount, costs, and interest and desires to release this judgment and hereby fully and

completely satisfy the same as to the following Defendant:

                                                      Schedule A Line
                         Defendant Seller Alias            No.
                              NATBEA                        77


       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 28th day of November 2023.   Respectfully submitted,


                                        /s/ Martin F. Trainor
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